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Pro Se 2(Rev...12M)Complaint and Requestfor Injunction



                                     UNITED'ST „,a4                                               JSMCITOURT.
                                                                          for the


                                           Eastern Division
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                                                                                                       „
                                                          ,   7           ,                 '••




                                                                                                                3:20-cv-00825-ECM-JTA
                           Umar Clark
                                                                                                   Case No.
                                                                                                                (to befilled in by the Clerk's Office)
                                                                                  )
                             Plaintiff(s)
                                                                                  )
(Write thefidl name of ach plaintiffwho isfiling this complaint.                  )
Ifthe navies ofall the plaintiffs cannotfit in the space above.                   )
please write "see attached" in the space,and attach an additional
page with thefidl list ofnames.)
                                                                                  )
                                                                                  )
                                                                                  )
              CAPITAL ONE'AUTO-FINANCE                                            )
                                                                                  )
                                                                                  )
                           Defendant(s)
                                                                                  )
(Write thefidl name ofeach defendant who is being sued Ifthe                      )
names ofall the defendants cannotfit in the space above,please                    )
write "see attached" in the space and attach an additionalpage
with thefull list ofnames.)



                                 COMPLAINT AND REQUEST TOR INJUNCTION


L        The Parties to This,Complaint
         A.        The Plaintiff(s)

                   Provide the information below for each plaintiffnamed in the complaint. Attach additional pages,if
                   needed.
                             Name                                   Umar Clark
                             Street Address                       200,Redlandid
                             City and County                      Shorter, Macon County
                             State and Zip Code                   Alabama,36075
                             Telephone Number                     267=314=0861
                             E-mail Address                       umar.clark@yahoo.com


         B.        The Defendant(s)

                  Provide the information below for each defendant named in the complaint, whether the defendant is an
                  individual, a government agency, an organization, or a corporation. For an individual defendant,
                  include the person'sjob or title (ifknown). Attach additional pagesif needed.

                                                                                                                                                         Page 1 of 6

                                                                                                                                                         •
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3
                       Defendant No. 1
                                 Name                        Capital One Auto Finance
                                 Job or Title(tfknown)
                                 Street Address              7933 Preston Road
                                 City and County             Plano, Denton
                                 State and Zip Code          Texas, 75024
                                 Telephone Number            1-800-94670332
                                 E=mail,Address (ifknown)


                       Defendant No.2
                                 Name
                                 Job or Title (if-known)
                                 Street Address
                                 City and County
                                  State and Zip Code
                                  Telephone Number
                                 E-mail Address (ifknown)


                       Defendant No.3
                                 Name
                                 Job or Title (ilknown)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address(ifknown)


                       Defendant No.4
                                 Name
                                 Job or Title 0/known)
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address(;known)
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II.       Basis for Jurisdiction

           Federal courts are courtsnf limited jurisdictiow(limited'power). Generally, only two types ofcases caw be
           heard in federal court: cases involving a federal question and,cases involving diversity ofcitizenship ofthe
           parties. Under 2811.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
           iS a federal question case. Under 28'.U.S.C. § 1332, a case in which a citizen ofone State sues a citizen of
           another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. In a
           diversity ofcitizenship case, no defendant may be a citizen ofthe sarne State as any plaintiff.

           Whatis the basis for federal courtjurisdiction? (check all that apply)
                 Ekederal question                               ElDiversity ofcitizenship


           Fill outthe paragraphs-in this section that apply to4his case.

                    Ifthe Basis for Jurisdiction Is a Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions ofthe -United States Constitution that
                    are at issue in this case.
                     15 usc 1692.


                    Ifthe Basis for Jurisdictionis Diversity of Citizenship

                     1.       The Plaintifgs)

                                        Ifthe plaintiff is an individual
                                         The plaintiff, (name)                                               ,is a-citizen ofthe
                                         State of(name)


                              b.        Ifthe plaintiff is a corporation
                                        The plaintiff, (name)                                                ,is:incorporated
                                        under the laws ofthe State of(name)
                                        and has its principal place of business in the State of(n e



                            (Ifmore than one plaintiffis named in the complaint, attach an additionalpage providing the
                              same informationfor each additionalplaintiff)

                    2.        The Defendant(s)

                                        Ifthe defendant is an individual
                                        The defendant, (name)                                               ,is a citizen of
                                        the`State of(name)                                              . Or is a citizen of
                                         (foreign nation)



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                                  b.        Ifthe defendant is a corporation
                                            The defendant, (name) Capital One Auto Finance              , inCorpOrated.undet
                                             the laws cfthe State of(name) Texas                                  ,4nd hasits •
                                           r principal place of business in the State of(name) Texas
                                            or is incorporated-under the laws of(foreign nation)
                                            and has its principatplace of business in(name)

                                 afmore than one defendant is named in the complaint, attach,an additional page providing the
                                 same informationfor each additional defendant.)

                       3.        The Amount in Controversy

                                 The amount in controversy—the amount,the plaintiffclaims the defendant-owes or the amount at
                                 stake—is more than $75,000, not counting interest and-costs ofcourt, because (explain):


                                  Capital one Auto Finance is not only owes me for 26 consumer rights violations under 15 use
                                  1692. They also caused me financial injwy, and emotional distress. Which is why I am suing in
                                  the amount of $250,000

 Mt         Statementof Claim

           Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the injunction or other reliefsought. State how each defendant
           was involved and,what each defendant did that caused the plaintiff harm or violated-the plaintiffs rights,
           including the dates and places ofthat involvement or conduct. Ifrnore than one claim is asserted, number each
           claim and write a short andiplain statement ofeach clairn in a separate paragraph. Attach additional pages if
           needed.

            A.        Where did,the events giving rise'to your claim(s)occur?

                       Atlanta, Ga




                      What date and approximate time did the events giving rise to your claim(s)occur?
                       From May 30, 2018 to Present.




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          C.        What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone eke involved? Who else saw what happened?)
                     On 07/27/2020 Rimer Clark sent Cap one Auto Finance a debt validation request pursuant to 15 use
                     1692g, an affidavit of truth stating facts that showed their violations against me, exhibits proving their
                     violations and an invoice to be compensated for these violations pursuant to 15 use 1692k. This was
                     done using certified mail nurnber #9214-8901-4298-0452=2474-43(Attached labeled Exhibit A)

                     On 07/31/2020 Capital One Auto Finance responded(Attached) but they did,not rebut my facts in my
                     affidavit."Allegations in affidavit in support of motion must be considered as true in absence of counter-
                     affidavit."[Group v Finletter, 108 F. Supp. 327 Federal Case of'Group V Finletter, 108 F. Supp. 327]

                     On 08/03/2020 l respondediusing certified mail number(attached in exhibits)
                     #9214-8901-4298-0452292122 with a default and opportunity to cure. Capital One Auto Finance has not

          Irreparablejnjuty

          Explain why rnonetaty damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result ofthe events described above,or why such compensation
          could not be measured:
         l am a single father who lives in a neighborhood-that is not very safebecause of this alleged debt by capital one -1
         have been-unable to buy a home to'move to a better neighborhood. l have had to work more even during the
         pandemic, which is risking-the health and-safety of me and my son.




         Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal'
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts ofany actual damages claimed for the acts alleged and the,basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts,and the reasons you claim you are entitled to actuaLor
         punitive money damages.
        An apology, monetary compensatiompursuant to 15 usc 1692k, my title lien free, and a deletion from all consumer
        reports.




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          Certification antKlosing

          Under FederatRule ofCivil Procedure 11, by signing below,,I certify to the bestof my knowledge, information,
          and beliefthat this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, Or needlessly increase the costof litigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, ifspecifically so identified, wilUlikely have evidentiary support after ivreasonable
          opportunity for further investigation or discovery; and(4)the complaintotherwise complies with the
          requirements ofRule 11.

          A.        For Parties Without an Attorney

                    I agreelo'providelhe Clerk's.Office'with,any changes tomy address where Case—related papers may be
                    served. I. understand that my failure to =keep a current address on file with the Clerk's,Office may result
                    in the dismissal,of my,case.

                    Date ofsigning:          /0faqi


                    Signature ofPlaintiff
                    Printed Name ofPlaintiff

          B.       FOr Attorneys

                   Date ofsigning:


                    Signature of Attorney
                   Printed Name of Attorney
                   Bar Number
                   Name of Law Firm
                   Street Address
                   State and Zip Code
                   Telephone Number.
                   E-mail Address
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                      CERTIFIED MAIL
        umar clark
        200 redland rd
        shorter, AL 36075


         See Important Information Enclosed
               KIII31312_ESISTRICT OF AL
               one church street
               montgomery, AL 36104
